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                                                                              FILED   BY·_------ D.C.
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                                                                                      ANGELA e''.'iioBLE
                                   UNITED STATES DISTRICT COURT                      CLERK U.S. DIST. CT.
                                                                                     S.D. OF FLA. -W.P.B.
                                   SOUTHERN DISTRICT OF FLORIDA

                                           Case No. _ _ _- Civ

                                                Jury Demand

        Xuejun Makhsous
        Lixing Yan
        Lingfeng Duan
        Zhizhen Yin
        Lili Zhang
        Ying Yu
        Shuangquan Sun
:I      Xiaofei Liu
 I
        Xuezheng Ding
        Jiangman Chen
        Jane Doe 1-99

                Plaintiffs

         VS.


         Nicholas Mastroianni, II
         U.S. immigration fund, LLC
         701 TSQ 1000 Funding, LLC
         701 TSQ 1000 Funding GP, LLC
         1568 Broadway Funding 100, LLC
         1568 Broadway Funding 100 GP, LLC
         Ronald Fieldstone

                Defendants



                                                COMPLAINT

                We, Xuejun Makhsous, Lixing Yan, Lingfeng Duan, Zhizhen Yin, Lili Zhang, Ying Yu,

         Shuangquan Sun, Xiaofei Liu, Xuezheng Ding and Jiangman Chen plaintiffs, pro se, in the above

          styled cause, sue defendants Nicholas Mastroianni II, U.S. Immigration Fund LLC, 701 TSQ

          1000 Funding LLC, 701 TSQ 1000 Funding GP LLC, 1568 Broadway Funding 100, LLC,1568

          Broadway Funding 100 GP LLC (collectively, "Mastroianni") and Ronald Fieldstone and state:
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                            : i ~:· :~           : J ··(: -1.1::·                                                   INTRODUCTION
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__ ._................ _.;.,•.•···· -- ...~~·   ,,...,, ,-..-~.-..••4~\,.-.,· -1·   ½"   -~-,,,, ........ ,




                          1. All Plaintiffs, pro se, first bring this action to recover investment and fees paid to Defendants

                                     Mastroianni as result of fraud in the inducement, securities fraud, unconscionable adhesion

                                     contracts, and unjust enrichment against Defendants Mastroianni. Secondly Plaintiff Xuejun

                                     Makhsous ("Ma") bring this against Defendants Mastroianni and Ronald Fieldstone for

                                     interference of prospective and existing business relations.



                                                                                                              JURISDICTION AND VENUE

                          2. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332. There is complete

                                     diversity among the parties and the amount in controversy exceeds the sum or value of$75,000,

                                      exclusive of interest and costs.

                           3. This Court is the proper Court because the wrongful conduct, in part, took place in this district.

                           4. The relief sought by Plaintiff is within jurisdiction of this Court to grant such relief.



                                                                                                                     PARTIES

                           5. Xuejun Makhsous ("Ma") is a Chinese-English translator and EB-5 researcher. Ma has

                                      received assignment of certain interests of a cmTent member of 701 TSQ 1000 Funding, LLC.

                                      Ma is a resident of Cook County, Illinois.

                            6. Lixing Yan is a citizen of People's Republic of China and resides in Shanghai, China.

                            7. Lingfeng Duan is a citizen of People's Republic of China and resides in Beijing, China.

                            8. Jiangman Chen is a citizen of People's Republic of China and resides in Guangdong, China

                            9. Shuangquan Sun is a citizen of People's Republic of China and resides in Beijing, Chin

                            10. Zhizhen Yin is a citizen of People's Republic of China and resides in Shanghai, China
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          11. Lili Zhang is a citizen of People's Republic of China and resides in Shandong, China

          12. Ying Yu is a citizen of People's Republic of China and resides in Suzhou, China

          13. Xuezheng Ding is a citizen of People's Republic of China and resides in Zhejiang, China.

          14. Xiaofei Liu is a citizen of People's Republic of China and resides in Shanghai, China

          15. Defendant Nicholas Mastroianni, II ("Mastroianni"), is a Florida resident and controls U.S.

             Immigration Fund LLC, 701 TSQ 1000 Funding LLC, 701 TSQ 1000 Funding GP LLC, 1568

             Broadway Funding 100 LLC and 1568 Broadway Funding 100 GP LLC.

          16. Defendant U.S. Immigration Fund, LLC, ("USIF") is a Delaware limited liability company

              whose controlling principal is Nicholas Mastroianni, II.

          17. Defendant 701 TSQ 1000 Funding, LLC ("701 Fund"), is a Delaware limited liability company

              whose controlling principal is Nicholas Mastroianni, II.

          18. Defendant 701 TSQ 1000 Funding GP, LLC, ("701 Manager") is a Delaware limited liability

              company whose controlling principal is Nicholas Mastroianni, II.

          19. Defendant 1568 Broadway Funding 100, LLC, ("702 Fund") is a Delaware limited liability

              company whose controlling principal is Nicholas Mastroianni, II.

          20. Defendant 1568 Broadway Funding 100 GP, LLC, ("702 Manager") is a Delaware limited

              liability company whose controlling principal is Nicholas Mastroianni, II.

          21. None party Ying Ding (collectively "Qiaowai/GDOS"), is a US permanent resident who used

              to reside at 4552 Tuscany Dr, Plano TX at least between 2011 and 2018. Ying Ding controls a

              Chinese immigration consulting firm Qiaowai/GDOS that is the agent for Plaintiffs in 701

              Fund and 702 Fund.

           22. Ronald Fieldstone ("Fieldstone") is a securities attorney and partner of Saul Ewing Arnstein

              and Lehr. Ronald Fieldstone resides in Miami, Florida.

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                                     FACTUAL ALLEGATIONS

       A. DEFENDANTS MASTROIANNI ARE INVESTMENT ADVISORS AND USE

           SECRET "FINDER'S AGREEMENT" TO SABOTAGE FIDUCIARY DUTIES

           QIAOWAI/GDOS OWED TO PLAINTIFFS

    23. In October 2014 Fortune Magazine published an article titled "The tangled past of the hottest

       money-raiser in America's visa-for-sale program".           This article detailed Defendant

       Mastroianni's records of bankruptcies, lawsuits and felonies prior to Mastroianni's new life as

       a money-raiser and fund manager ofEB-5 investment from Chinese investors.

    24. Between 2014 and 2016, Defendants Mastroianni raised over $377 million from over 754

       foreign investors through the sale of securihes in 701 Fund and 702 Fund. Both offerings were

       sponsored by Mastroianni's U.S. Immigration Fund - NY LLC (the "USIF Regional Center")

       pursuant to the EB-5 Program, which is administered by the United States Citizenship and

        Immigration Service ("USCIS") and provides an opportunity for foreign nationals to petition

        for United State residency if they make a qualified investment in a specified project that is

        determined to have created or preserved at least ten jobs for United States workers.

    25. Defendants Mastroianni receive millions of management fees in addition to fees from the visa

        sponsorship through USIF Regional Center. A 2017 financial statement of 702 Fund shows

        Defendant Mastroianni/702 Manager received $13.66 million in management fee, and

        Defendant Mastroianni/ USIF Regional Center received $418,983 in sponsorship fee.

        Defendant Mastroianni/702 Manager paid substantial amount to its agent Qiaowai /GDOS. See

        Exhibit 1.

    26. Securities and Exchange Commission ("SEC") has determined that EB-5 fund managers are

        investment advisors by virtue of the management of EB-5 Funds. In SEC v. Murojf2017. As
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            such Defendants Mastroianni are investment advisers managing 701 Fund and 702 Fund.

            However, Defendants Mastroianni have not registered with SEC as investment advisers.

         27. Both 701 Fund and 702 Fund provide financing for the redevelopment of a hotel, theatre and

            entertainment/retail space to be located at 1568 Broadway in New York, New York

            ("Broadway Development"). Both funds claim exemption from registration as an investment

            company under Section 3(c)(5)(C) of the Investment Company Act of 1940, as amended (the

            "Investment Company Act"). However, the assets of both funds are not fully secured, if any,

             with current value of Broadway Developmentbecause current asset of Broadway Development

             is used for collateral for senior loan of $1.125 billion provided Goldman Sachs Investment

             Bank since December 2018. Neither 701 Fund nor 702 Fund is registered as investment

             company.

         28. Defendants Mastroianni admit that if it is later determined that the offerings did not fully

             comply with United States federal or state law, they may be required to refund certain investors'

             capital contributions, plus interest.

          29. The assignor of certain rights to Plaintiff Ma, Lingfeng Duan, Shuangquan Sun, Zhizhen Yin,

             Lili Zhang, Ying Yu, Jiangman Chen, Xuezheng Ding and Xiaofei Liu ("701 Plaintiffs") are

             current or former investors in 701 Fund controlled by Defendant Mastroianni. Each of these

             Plaintiff contributed $500,000 investment to 701 Fund along with $50,000 in administrative

             fees between 2014 and 2015. In addition, each of these Plaintiffs paid about $12,000 to

              Qiaowai /GDOS for due diligence on 701 Fund.

          30. Plaintiff Lixing Yan ("YAN") is an investor in 702 Fund. Yan contributed $500,000 to 702

              Fund along with $52,000 in administrative fees in 2016. In addition, YAN paid about $12,000

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              to Qiaowai /GDOS for due diligence on 702 Fund.
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   31. Unknown to 701 Plaintiffs and YAN who contracted Qiaowai/GDOS as their agent Defendants

       Mastroianni had entered a confidential and exclusive Finder's Fee Agreement ("Fee

       Agreement") with GDOS to market securities issued by Defendants Mastroianni.

       Qiaowai/GDOS receives kickback payment for steering its clients to invest with Defendants

       Mastroianni. See Exhibit 2.

    32. Defendants Mastroianni keep records of payment made to Qiaowai/GDOS related to each of

       Plaintiffs. Defendants Mastroianni refuse to disclose Fee Agreement and kickback payment

       records to Chinese investors. Defendants Mastroianni even deny that Qiaowai/GDOS is their

       marketing agent and insist that Qiaowai/GDOS is agent of Chinese investors like Plaintiffs.

    33. With information and belief, Qiaowai/GDOS receives $40,000 in kickback commission from

       the $50,000 administrative fee each of Plaintiffs paid to 701 Fund or 702 Fund. The Fee

       Agreement also provides that Qiaowai/GDOS receives about 1. 75% to 2% interests annually

       on $500,000 investment each of Plaintiffs contributed to 701 Fund and 702 Fund.

    34. With information and belief, Qiaowai/GDOS received millions of kickback payment from

       Defendants Mastroianni including about $3.89 million from 702 Fund in 2017 alone. Upon

       discovery request during an arbitration proceeding YAN filed against Defendants Mastroianni

       and 702 Fund in October 2019, Defendants finally provided a kickback payment history

       between 702 Fund and Qiaowai/GDOS that shows 702 Fund have paid $10,000 in January

       2017 and $20,000 in February 2018 to Qiaowai/GDOS relative to Y AN's investment in 702

       Fund. See Exhibit 3.

    35. Defendants Mastroianni and 702 Fund failed to provide "Finder's Fee Agreement" and

       payment history to YAN before YAN making the investment in 2016 and even when YAN

       filed a court action in New York in Febmary 2019 for fraud and demanded return of his

        investment and fees.
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         36. Under the terms of "Finder's Agreement" Qiaowai /GDOS steered each of Plaintiffs to pay

            $15,000 legal fees and be represented by attorneys associated with Qiaowai /GDOS and

            Defendants Mastroianni. Such conflicts of interests were not disclosed to Plaintiffs. These

            attorneys never contracted Plaintiffs to advise them during investment process.

         37. Defendant Mastroianni admits that Qiaowai/GDOS is Plaintiffs' agent with implied fiduciary

            duty owed to Plaintiffs.

         38. Plaintiffs signed an agency agreement with Qiaowai/GDOS without ahy knowledge of Fee
                                                                               I



             Agreement and kickback payment between Qiaowai/GDOS and Defendants Mastroianni.

         39. At the instruction of Qiaowai/GDOS, Plaintiffs signed the signature pages of investment

             documents issued by 70 l Fund and 702 Fund without receiving the complete investment

             documents including risk disclosures and the operating agreement of 701 Fund and 702 Fund.

             At instruction of Qiaowai/GDOS, Plaintiffs wired $500,000 along with administrative fees to

             to bank accounts controlled by Defendants Mastroianni.

          40. Iri May 2018 after 701 Fund received full repayment from the first development 701 Fund

             financed, Defendant Mastroianni decided to redeploy the repayment to finance Broadway

             Development along with 702 Fund.

          41. In May 2018 Defendant Mastroianni sought Consent of Amended Operating Agreement and

             Redeploy Repayment from 701 Fund members with collaboration with Qiaowai /GDOS. In

             the proposed Consent of Amended Operating Agreement and Redeploy Repayment, ·

             Defendants Mastroianni      made Qiaowai/GDOS         as: co-manager of 70 I Fund and

             Qiaowai/GDOS would earn 2% interest annually on $100 million asset of701 Fund.




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       B. FIELDSTONE SECRETLY WORKING WITH DEFENDANTS MASTROIANNI

    42. In May 2018 Some members of 701 Fund decided to withdraw their membership and

       investment during the redeployment process. With information and belief Qiaowai /GDOS

       arranged the introduction of Fieldstone to some of the withdrawing member of 701 Fund who

       sought to w:ithdraw from 701 Fund and to terminate any relationship with 701 Fund.

    43. Qiaowai /GDOS knew or should have known that Fieldstone has maintained working

       relationship with Defendants Mastroianni for many years.

    44. When introducing himself, Fieldstone represented to 701 Fund Withdrawing Investors that he

       no longer presented conflict of interest claiming that he has not worked with Defendants

       Mastroianni for many years.

    45. In fact, Fieldstone continues a working relationship with Defendants Mastroianni. On July 20

       2018, without consent from 701 Plaintiffs, Fieldstone submitted a letter of support to New

       York Supreme Court in favor of Defendants Mastroianni in a legal action brought by 124

       members of 70 I Fund challenging the Consent of Amended Operating Agreement and

       Redeploy Repayment See Exhibit 4.

    46. Fieldstone failed to inform the 701 Fund Withdrawing Investors that just four years prior he

        authored a Private Placement Memorandum for one of Defendant Mastroianni's EB-5 fund

        that exempt them from registering as investment advisor by claiming that Qiaowai /GDOS

        would provide investment advice to Chinese investors. At time Fieldstone knew or should

        have known that Qiaowai /GDOS had made representation to Defendant Mastroianni that

        Qiaowai /GDOS doesn't provide any investment advice to its clients.

    4 7. Initially 701 Plaintiff refused to vote on Consent of Amended Operating Agreement and

        Redeploy Repayment. On July 122018 Defendant Mastroianni notified 701 Plaintiffs that their

        votes became invalid because they failed to send their votes by July 5 as scheduled and they
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            were not eligible to receive refund of investment. However, Defendant Mastroianni gave

            extension to vote on Consent of Amended Operating Agreement and Redeploy Repayment

            only in favor of Defendant Mastroianni.

         48. In contrast to attorney Litowtiz who insisted on members' right to withdraw and refund without

            voting, Fieldstone coerced 701 Plaintiffs to approve the Consent of Amended Operc1;ting

            Agreement and Redeploy Repayment in favor of Defendants Mastroianni on July 12 2018.

         49. While clients represented by Litowtiz received refund of $500,000 in August without voting

            Fieldstone didn't assist 701 Plaintiffs to request withdrawal from 701 Fund until August 2018.

         50. Even voting in favor of Defendants Mastroianni Fieldstone coerced 701 Plaintiffs to sign

            Withdraw/Release Agreement drafted by Defendants Mastroianni to give up claims to $50,000

            of administrative fee and interests earned since making investment in 2014.

            C. DEFENDANTS INCLUDING FIELDSTONE INTERFERED IN BUSINESS

            RELATIONSHIP BETWEEN MA AND 701 FUND WITHDRAWING INVESTORS

         51. In May 2018 a number of 70 I fund withdrawing investors approached Ma for translation, due

             diUgence on 702 Fund and information on attorneys who can represent them during the

            withdrawing process.

         52. Ma sent retainer agreements of attorney Litowitz to a number of 70 I fund withdrawing

             investors and Ma would be working with attorney Litowitz with communications in Chinese

             with 701 fund withdrawing investors.

         53. With information and belief, Defendants USIF and Qiaowai /GDOS organized a scheme to

             steer 701 Fund withdrawing investors to Fieldstone in attempt to secure approvals on Consent

             of Amended Operating Agreement and Redeploy Repayment from 701 Fund withdrawing

             investors.




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    54. About 40 of 701 Fund withdrawing investors signed engagement agreement with Fieldstone

        including those who had received retainer agreements of attorney Litowitz through Ma.

    55. In 2018 Fieldstone coerced about 40 of 701 Fund withdrawing to sign Consent of Amended

        Operating Agreement and Redeploy Repayment in favor of Defendants Mastroianni.

    56. In 2018 Lit0witz and Ma h,elped a dozen of 701 Fund withdrawing investors to vote against

        Consent of Amended Operating Agreement and Redeploy Repayment.

    57. At least one Fieldstone's client felt betrayed by Fieldstone's representation and re-engaged

        attorney Litowitz to complete withdrawing process on her term and against Defendants.

    58. Ma filed a complaint with Fieldstone's law firm for Fieldstone's interfering Ma's business

        relations with 701 Fund Withdrawing investors and competed with attorney Litowitz.

        Fieldstone and his law fom ignored Ma's complaint.

    59. In October 2018 Defendants Mastroianni filed a frivolous lawsuit against Ma and attorney

        Litowitz in New York Supreme Court ("New York Action") for their assistance of 701 Fund

        Withdrawing investors against Consent of Amended Operating Agreement and Redeploy

        Repayment. New York Action was later dismissed by the New York Court.

    60. Defendants Mastroianni filed the New York Action and later made defamatory statements

        about Ma with sole intention to tarnish Ma's reputation among EB-5 investors.

                              COUNTI-FRAUDINTHEINDUCEMENT

            (Against Mastroianni, USIF, 701 Fund, 702 Fund, 701 Manager and 702 Manager)

     61. The Plaintiffs repeat and re-alleges each and every allegation of the foregoing paragraphs as if

        fully set forth herein.

     62. Defendants Mastroianni entered a secret "Finder's Fee Agreement" with Plaintiffs' agent

        Qiaowai/GDOS.        Defendants   Mastroianni    paid   substantial   kickback    payment    for
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        Qiaowai/GDOS to induce Plaintiffs to sign investment documents without full disclosures and

        make investment in 701 Fund and 702 Fund controlled by Defendants Mastroianni.

     63. Defendants Mastroianni used "Finder's Fee Agreement to sabotaged fiduciary duty

        Qiaowai/GDOS owed to Plaintiffs.

     64. Plaintiffs relied upon due diligence and fiduciary duty provided by Qiaowai/GDOS to make

        their investment decision.

     65. If Plaintiffs knew about Finder's Fee Agreement between Defendants Mastroianni and

        Qiaowai/GDOS, they would not have engaged Qiaowai/GDOS as their agent and would not

        have invested with Defendant Mastroianni if full disclosure was provided.

     66. As result of breach of fiduciary duty of Qiaowai/GDOS owed to Plaintiffs caused by Defendant

        Mastroianni, Plaintiffs made investment with Defendant Mastroianni with no right to withdraw

        or transfer without consent of Defendant Mastroianni. Defendant Mastroianni refuse to return

        capital contribution of $500,000 to YAN as well as administrative fees and interests earned to

        all of Plaintiff.

        WHEREFORE, the Plaintiffs demand judgment against Mastroianni, USIF, 701 Fund, 702

     Fund, 701 Manager and 702 Manager for compensatory damages in an amount to be determined

     at trial, together with interest at the maximum rate allowable, and injunctive relief, including

     without limitation, appointment of a SEC registered investment advisor, along with such other

     relief the Court deems just and proper.

                                     COUNT II - SECURITIES FRAUD

            (Against Mastroianni, USIF, 701 Fund, 702 Fund, 701 Manager and 702 Manager)

     67. The Plaintiffs repeat and re-alleges each and every allegation of the foregoing paragraphs as if

         fully set forth herein.
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    68. Mastroianni, USIF, 701 Fund, 702 Fund, 701 Manager and 702 Manager admit that 701 Fund

        and 702 Fund may not comply with the applicable securities laws of the United States for, but

        not limited to; not registering with SEC.

    69. By virtue of their management of 701 Fund and 702 Fund Defendant Mastroianni, USIF, 701

        Manager and 702 Manager have violated Section 206(1), 206(2) and 206(4) of the Investment

        Advisers Act of 1940 ("Advisers Act")) [15 U.S.C. §§ 80b-6(1), 80b-6(2), and 80b-6(4)] and

        Rule 206(4)-8 thereunder [17 C.F.R. §275.206(4)-8] by making material misrepresentations,

        engaging in a fraudulent scheme, and breaching their fiduciary duties to the Funds and their

        investors.

        WHEREFORE, the Plaintiffs demand judgment against Mastroianni, USIF, 701 Fund, 702

    Fund, 701 Manager and 702 Manager for compensatory damages in an amount to be determined

    at trial, together with interest at the maximum rate allowable, and injunctive relief, including

    without limitation, appointment of a SEC registered investment adviser, along with such other

    relief the Court deems just and proper.

                                  COUNT III - UNJUST ENRICHMENT

                       (Against Mastroianni, USIF, 701 Manager and 702 Manager)

     70. The Plaintiffs repeat and re-alleges each and every allegation of the foregoing paragraphs as if

        fully set forth herein.

     71. Mastroianni, USIF, 701 Manager and 702 Manager admit that they are not registered

        investment advisors.

     72. Mastroianni, USIF, 701 Manager and 702 Manager have violated Sections 206(1), 206(2) and

        206(4) of the Investment Advisers Act of 1940 ("Advisers Act").

     73. Mastroianni, USIF, 701 Manager and 702 Manager have received millions of dollars in

         management fees.      In December 2018, Mastroianni, through his shell company, received
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      :,                   $44,661,772.77 in payment from the Broadway Development for a financing commitment up

                           to $494,500,000. A larger portion of such fees are allocated for management fee paid to
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                           Mastroianni, USIF, 701 Manager and 702 Manager.

                     74. Without paying much distribution to members of 701 fund and 702 Fund, Mastroianni, USIF,

                           701 Manager and 702 Manager require members of 701 Fund and 702 Fund to accept phantom

                           income and federal tax liabilities on that portion of the interest income received by 701 Fund

                           and 702 Fund under the Mezzanine Loan which is (i) used to pay for operating expenses

                           (including fees payable to foreign brokers, the USIF New Yark Regional Center and/or

                           Manager) and (ii) not distributed to the Members.

                           WHEREFORE, the Plaintiffs demand judgment against Mastroianni, USIF, 701 Fund, 702

     ,,            - Fund, 701 Manager and 702 Manager for compensatory damages in an amount to be determined
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                     at trial, together with interest at the maximum rate allowable, and injunctive relief, including

                     without limitation, appointment of a SEC registered investment advisor, along with such other

                     relief the Court deems just and proper.

                                                     COUNT IV - ADHESION CONTRACTS

                       (Plaintiffs Against Mastroianni, USIF, 701 Fund, 702 Fund, 701 Manager and 702 Manager)

                     75. The Plaintiffs repeat and re-alleges each and every allegation of the foregoing paragraphs as if

                           fully set forth herein.

                     76. That Operating Agreement and Withdraw/Release Agreement ("Agreement") issued by 701

                           Fund and 702 Fund are adhesion contracts that were not the product of arm's-length

                           negotiation.

                     77. The one-sided adhesion contracts reveal Defendants' intent to take advantage of Plaintiffs.

                           Defendants Mastroianni drafted the Agreement. They held superior bargaining power.



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       Defendants Mastroianni exploited this. They used that power in the drafting of the Agreements

        and drafted them in a one-sided manner, favoring Defendants Mastroianni.

    78. Typically, as Defendants Mastroianni knew and intended, Plaintiffs were put under time

        pressure to sign the Agreements and had insufficient opportunity to examine, read, translate,

        or understand the details of the voluminous documents prepared by Defendants Mastroianni,

        including the substantial legalese in Agreements.

    79. Typically, as Defendants Mastroianni knew and intended, Plaintiffs attorneys, including

        Fieldstone, would not fully represent the interests of Plaintiffs in advising them on Agreements.

    80. Defendants Mastroianni drafted the Agreements in such a way as to permit them to take

        advantage of Plaintiffs. For example, the Operating Agreements of 701 Fund and 702 Fund

        have eliminated the liability of the Manager and its affiliates for any breach of any duties

        (including fiduciary duties) that the Manager and its affiliates may have to 701 Fund and 702

        Fund or any Member. The Operating Agreements of 701 Fund and 702 Fund provide that

        Member has no right to withdraw or transfer without consent of Defendants Mastroianni. The

        Withdraw/Release Agreement provides that Plaintiffs receive no interests on their investment

        nor refund of administrative fees when withdrawing.

     81. The Agreements were permeated with illegal and unconscionable terms, and were therefore

        not enforceable.      The Agreements were "adhesion contract "-that is, "standard-form

        contract(s), drafted by the party with superior bargaining power, which relegate(d) the other

        party to the option of either adhering to its terms without modification or rejecting the contract

        entirely."

     82. In short, the Agreements that Plaintiffs were coerced to sign are themselves instruments of the

        oppression by Defendants Mastroianni.
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               WHEREFORE, the Plaintiffs demand judgment against Mastroianni, USIF, 701 Fund, 702

           Fund, 701 Manager and 702 Manager for compensatory damages in an amount to be determined

           at trial, together with interest at the maximum rate allowable, and injunctive relief, including

           without limitation, appointment of a SEC registered investment advisor, along with such other

           relief the Court deems just and proper.

                 COUNT V-TORTIOUS INTERFERENCE WITH PROPSPECTIVE BUSINESS

                                                     RELATIONSHIP
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                           (Plaintiff Ma Against All Defendants Mastroianni including Fieldstone)
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            83. Ma repeats and re-alleges each and every allegation of the foregoing paragraphs as if fully set

               forth herein.

            84. Ma had prospective business relationship with many 701 Fund withdrawing investors.

            85. Defendants including Fieldstone know of that relationship and Defendants, individually and in

               collusion with one another, and with knowledge, by engaging in the conduct described above,

               directly or indirectly, interfered with that relationship.

            86. Defendants individually and in collusion with one another, and with knowledge, by engaging

                in the conduct described above, directly or indirectly, acted solely out of malice and coercion,

                and/or improper means that amounted to a crime or independent tort.

            87. Defendants' interference caused injury to Plaintiff's relationship with her present and future

                clients.

            88. Defendants conduct was willful, wanton, malicious, and oppressive in their attempt to silencing

                Plaintiff from exposing collusion among Mastroianni, USIF, Qiaowai/GDOS, Fieldstone that

                has sabotaged the fiduciary duties they owe to Chinese EB-5 investors.

            89. Defendants' unlawful conduct has directly, legally, and proximately caused and continues to

                cause injuries to Plaintiff in its business or property.
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           WHEREFORE, Plaintiff Ma demands judgment against Mastroianni, USIF, 701 Fund,

       702 Fund, 701 Manager 702 Manager and Fieldstone for compensatory damages in an

        amount to be determined at trial, together with interest at the maximum rate allowable, and

        injunctive relief, including without limitation, along with such other relief the Court deems

       just and proper.

           Plaintiffs respectfully demand a jury trial on all issues so triable.



    Dated: July 5, 2020 Respectfully Submitted,




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    XUEJUN MAKHSOUS, Plaintiff, prose            P. 0. BOX 2651, GLENVIEW, IL 60025

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      L,. v, ~J Yo"
   . ti~       AN~ t i f f , pro se    58 Chunyuan Rd, No. IO I Flat 402, Pudong, Shanghai, China




     LINGFENG DUAN, Plaintiff, prose 40 Mai Mai Street, Fragrant Hill Hotel, Haidian District,




     ZHIZHEN YIN, Plaintiff, pro se      Room 702, Unit 2, Lane 206, Hengbing Rd, Hongkou

     District, Shanghai China
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         YING YU, Plaintiff, prose   Room 1501, Building 10, Younger Future City Shenhu Road,

         Industrial Park Suzhou Ci~n a ~~'-...
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                              <l,, ..~., i1-t-;;;561,
          SHUANGQUAN SUN, Plaintiff, prose        Unit 2-102, Building 13, Guiyuan Nanli Mou

 i        Division, Yizhuang Development Zone, Daxing District, Beijing, China
,1




          XIAOFEI LIU, Plaintiff, prose   Room 502, No. 23, 667 Nong, Daning Rd, Jingan District,
          Shanghai, China
I!




          XUEZHENG DING, Plaintiff, prose      No 3-3-201, Chunxiaoyuan, Feicuicheng, Xianlin Blvd,

          Yuhang District, Hangzhou, Zhejiang, China




          LILI ZHANG, Plaintiff, prose Luxin Changcun Garden, Unit 38-1-202, Yinchuan East Rd. Nol.

          Laoshan District, Qingdao, Shandong Province, China
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    HANGMAN CHEN, Plaintiff, prose       Building 8, Unit 1401, Chengshi Shangu, Tonggu Road,

    N anshan District, Shenzhen, Guangdong, China.

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                         . Net income (lo:;s)

                          l\foinQCci' equity, begim1ing,
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                                                      SIGNATUlU£ BANK



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                CONFIDENTIAL- MAY NOT BE DISSEMINATED, DISTRIBUTED OR POSTED ON INTERNET PURSUANT TO ORDER




                                               Master Finder's flee Agreement

               BY SIGNING THIS AGREEMENT, YOU CONFIRM THAT YOU READ AJ"'l'D
               UNDERSTAND ENGLISH OR HAVE HAD THIS CONFIDENTIAL AGREEMENT
               TRANSLATED BY A COMPETENT TRANSLATOR INTO A LANGUAGE YOU
               UNDERSTAND.

               THIS ~~ASTER FINDER'S FEE AGREEMENT (this "Agreement") is made and entered into
               as of A/.ov'l1mbtz.r: ,f , 2015, by and between U.S. Immigration Fund, LLC ("USIF") and each
               of the respective funding companies identified in the schedules attached hereto and1.nndc a part
               hereof (each a "Company'') eac.h with its principal place of business in Jupitc~, f.lorida; address:
               I 15 Front Street, Jupiter, Florida 33477 and Beijing Overseas Education & Immigration
               Consult Service Co., Ltd. (the "Finder") whose principal business is located 'in Beijing; China,
               address: 32/F, Tower A, The Spaces International Center, DongI:)aQi11p Sf~eet, ChaoYang
               District, Beijing, 100020. Sometimes USIF, the Company andJ;;inder shall. lndividually be
               referred to herein as a "Party" or coliectively as the "Parties". · · · '       ·•·-·

               WHEREAS, the Company was formed to enable accrtc'1itt,d inv~stors            to
                                                                                          become eligible for
               ad.mission to the United States of America pursuant to the, Ll$:;,Citizenship and Immigration
               Services ("USCIS") hnmigrant Investor Fifth En,ipioymei~t~bascd Visa Preference Program
               commonly known as the "EB-5 Program";           ···   ·     ·
                                                                    _-;   ,;:_   .


               WHEREAS, the Company seeks purchas~s of.m·-~ft1bersnip interests ("Units") pursuant to a
               private placement and related agreements (eac!1 •~o ''Offering") from qualified sophisticated
               natural persons who are not United Stiites;qi_!izens;or lawful pennanent residents of the United
               States or arc otherwise ''U.S. ~r.sons:'. ("Foreign Investors") as defined in Regulation S
               promulgated pursuant to the U.S;,SecuritiesAcb5f 1933, as amended ("Regulation S"), and who
               desire to become investors i1t2Yh~ Cdmp~y; for the p~rposc of lending the proceeds of each
               rei,-pective Offering for use i1tthc,;c,onstruction of real estate projects located within the Uni led
               States (each a "Projed");       · ··· ··                            ·

               WHEREAS, the fill~fi lias a~~~; to Foreign Investors and the Company desires that Finder
               introduce to th~Compaily those Foreign Investors interested in investing in the Company; and

               \VHERE~§,. the Parties :Wish to formalize their agreement with respect to any fees payable by
               Company to.Llic Findei"in consideration for Finder's introduction of the Foreign Investors to the
               Compa):1y, sub_iec,t to the tem1s herein;

               THEREFORE, in consideration of the mutual covenants and representations contained herein,
               and intending to be legally bound, the Parties hereto agree as follows:

               1.      Term: The tetm of this Agreement shall commence effective as of the date first written
               above and shall continue in effect until tenninatcd as provided hereinafter. The terrn for t.he
               terms agreed upon in the attached schedules shall expire upon the earlier of (i) five (5) years -
               commencing upon the e,~ecution of the corresponding schedule (each a "Project Schedule"), or
               (ii) the repayment of the loan for the relevant Project ("Loan") and payment of all interest due
               and owing 1hcreafter (the "Term").



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             STRICTLY CONFIDENTIAL PURSUANT
             TO ORDER DATED OCTOBER 15, 2019
                                                                                                                        YAN1568_492
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         2.      Investment: Comoensation: Except as otherwise stated in a Project Schedule, should any
         Foreign Investor deposit Five Hundred Thousand Dollars USDS.500,000.00 or such amount as is
         required by USC1S for the investment to be considered a qualifying investment in a "Targeted
         Employment Area" (such amount the "Investment") together with the                _
         Dollar USD $            (or other a1,nount stated in a Project Schedule) administrath•e fee into the
         escrow account established by the Company with Signature Bank, or any other bank the
         Company may designate pursuant to an agreement to hold said amount (the "Escrow
         Agreement''), then Company agrees to pay Finder a fee ("Finder's Fee") as compensation under
         this Agreement according to the following:

                 l)                                                     for each Foreign Jnvestor intrndu.ced
                        by Finder will be paid by the Company within Fifteen ( 15) business days after
                        such Foreign fnvestor deposits the Foreign Investor's full subs9ription:amount
                        into the Escrow account, and                           · ·•.  ·· ··
                                                                                 .             •·.·

                2)                                                                   ··rqr each Foreign Investor
                        introduced by Finder will be paid by the Company wi'tEinFifteen (15) business
                        days after the Company receives notification of iJSc::IS 's atceptance of the filing
                        of the Foreign Investor's 1-526 Petition,. rul<l';K~'-'>,>· :;:.,

                3)                                                 ..     for each Foreign rnvestor
                        introduced by Finder will be paid by tlit Company within Fifteen (15) business
                        dnys after the Company receiv,es notification from USC!S that the Foreign
                        Investor's J-526 Petition h<!S;been approved.

         3.      Marketing Fe~ Payable to Finder. Jn ~dditici'I1 to the Finder's Fee, Finder shall be entitled
         to receive a payment (the "Marketing f~c"{of                                                      per
         Foreign Investor introduced -by Fi11der fri'·consideration for Finder's implementation of a
         strategic, cooperative marketing plin to be agreed upon by the partks nnd periodically reviewed
         (no less than quarterly). Such payment is also intended to reirn~urse Finder for the expenses
         associated with imple91~nt~tiQp;{9f, such marketing plan and any additional costs associated
         therewith shall be the sol~re.sponsibility of Finder.

          3.1 Each of the' following funding companies have previously paid the Marketing Fee to an
              affiliate .of :finder -,,artd Finder acknowledges that Finder has previously received such
              payrnenfwhich cdhstitutes full satisfaction of the payment of any Marketing Fees owed to
              Fi~der by the    companies, USlF and any affiliates:
                          ~-<

          3.2 ln consideration for marketing activities previously undertaken by Finder with respect to
              Projects for each of the following funding companies, and in consideration for and upon
              execution of this agreement, the following companies shall pay to Finder the Marketing Fee
              in respect of each investor introduced by Finder 1_
              and such payment shall constitute full satisfaction of the payment of any Marketing Fees
              owed to Finder by the Company, USIF and any affiliates: .



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       STHICTLY CONFIDENTIAL PURSUANT
       TO ORDER DATED OCTOBER 15, 2019
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                                                                                  For the new Projects on the
                Project Schedules                                                         the Marketing Fee
                shall be paid upon funding of the investor's Investment subject to the satisfaction of the
                escrow release conditions in the relevant Project's escrow agreement.

           4.      Annual Fee Pavable to Finder: .In addition to the Finder's Fee, Finder will be entitled to
           receive an amount equal to the percentage to be agreed upon (and as stated in the Project
           Schedules attached hereto for the relevant Project) of the Investment per year (the "Annual
           Fee") commencing from the date of the closing and funding ofat least ninety-five percent (95%)
           of the proceeds of the Loan to the developer of the Project (the "Developer") co11t,emplated •in
           the Offering and expiring on the maturity date of the Loan for each such Proj~r,:t.,TheAilnua.j:Fee
           shall be funded out of the interest payments to be made by thi; Develope(to th,~ 9ofopany
           pursuant to the terms of the Loan to be entered into between the Company ai\g:fhe Developer.
           Provided that at least ninety-five percent (95%) of the proceeds s~fthe i,oar(~e funded and
           interest payments are paid, the Annual Fee shall be paid to Findc,rfqh a quartcdybasis, in arrears
           within fifteen (l 5) business days after the Company receives payments of interest pursuant to the
           Loan. Schedule A attached hereto provides an illustration of the payment'of such Annual Fee.

           5,      Investor and Fee Refund Policy:

                   Foreign Investors shall be entitled to the,ietuni,pf all or a portion of their administrative
           fees and Investments in the following circumstanc~: ,·v'·      A!<,



                    •   In the event the Offering is can'cclled be~~tist the minimum amount required under
                        the Offering documents i1> not'.'.rilised, 11:ten each Foreign [nvestor will be entitled to
                        the return of the Foreign IrivestQr's administrative fee and the Foreign Investor's
                        Investment. In such,c:ase, the Finder will return to the Company the full amount of the
                        Finder's Fee paid
                                        . p1~r~uar(to
                                             .. . ;
                                                       Section 2.

                    •        If the USCtS fails'io,ariro:ve any Foreign Investor's I-526 Petitions solely because
                             the lJSCfS:d(ics not~pprove the Project, then such Foreign Investor will be entitled to
                             the rcturn,9f all. or a portion of the Foreign Investor's administrative fee and the
                             Fo~,eign Inve~to?s L-wcstment, provided that the Investment has not been funded to
                             thc:Devcloper; ln such case, the Finder will return to the Company the full amount of
                    . ',·,the Fin9,eft:Fee paid pursuant to.Section 2 if the relevant offering memorandum
                             con~ponding to the Project grants a full refund. If the refund due to the Foreign
                   ,, lnvcs,tor is all but                 then Finder shall return to the Company the ful] amount
                     ..·. . l.es~l"              of the Finder's Fee paid to Finder pursuant to Section 2 of this
                           , Agreement.

                    •   lf any Foreign Investor's 1-526 Petition is not approved by the USCIS for imy other
                        reason (provided that the Foreign Investor made a good faith effort to obtain the
                        npproval of the USC[S), then the Foreign Investor will be entitled to the return of the
                        Foreign Investor's Investment In this case, the .. Company will retain the
                        administrative fee.' In such case, the Finder may retain the full amount of any
                        payments that have been made or that are due to Finder under this Agreement.




        STRICTLY CONFIDENTIAL PURSUANT
        TO ORDER DATED OCTOBER 15, 2019
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                       •      If 1he Developer requires a mm1mum loan am01mt to accept the Loan and the
                              Company is not able to fund a Loan of at least such amount by the outside date as
                              described in the term sheet and Offering for such Project, and the Developer does not
                              waive this requirement, then each Foreign Investor will be entitled to the return of all
                              but           of the Foreign Investor's administrative fee and all of the Foreign
                              Investor's Investment. The Company will retain the remaining                     of the
                              administrative fee. 1n such case, Finder shall return to the Company the fol! omount
                              less             of the Finder's Fee paid to Finder pursuant to Section 2.

                       •      1f the Developer fails to meet the conditions for the funding of the Loan,. then each
                              Foreig.'l Investor will be entitled to the return of all but            of the Foreign
                              Investor's administrative fee and all of the Foreign Investor's lnv,~tment. The
                              Company will retain the remaining             of the administrative'leei In such case,
                              Finder shall return to the Company the full amount less.·            - 'of the Finder's
                              Fee paid to Finder pursuant to Section 2.               · .-

                       •       If the Company approves the withdrawal by a For~i'gttlnvestorfrom the Company,
                               then such Foreign Investor will be entitle<l to thpetum.ofthe Foreign Investor's
                               Investment. In this case, the Company will .becrit'itled't6'retain the administrative fee,
                               but may return all or a portion of the agniinistralive foe in its discretion. In such case,
                               the Finder may retain the full amountof any;'payi:nents that have been made to Finder
                               or that are due under this Agreeme11t, ~~less the Cbmpany elects to return the
                               administrative fee in which casfthe'fi'nd~i<will return to the Company the full
                               amount of the Finder's Fee paj~ pur~uari~ to Secti()n 2.

                        •      If the Company elects Jo rej~ct ~ F1m:iif;1 Investor's subscription because the Foreign
                               Investor fails to file:·an b526· Petition within 120 days after funding the Foreign
                               Investor's investment. In this event, the Company will refund all of the Foreign
                               lnvcstor's Investmentand               of the administrative fee to the Foreign Investor.
                               The Comp,any will retaiii the remaining portion of the administrative fee. In such
                               case, the Fintjir may:retain the full amount of any payments that have been made or
                               that ari::due 16 'Finder under this Agreement.
                                      c-:::          : .• ,._.   ·.,,_
                                              .         ..         •./

           6.                Coop~rati:pn: F1tider shall have right to introduce prospective Foreign Investors to the
          Compiwy ror Projcct~;. ~hieh meet •br defipjtjqp q[ "nsscnlll613 ipyestor" under Securities and
           Exchange Commission Rule 501 or Regulation D and who are not United States citizens or
           lawfu(pe1manet1t residents of the United States or are otherwise "U.S. persons" as defined in
           R~gulaliun, S, ';i1mJ/(,r a.re otherwise acceptable based on the judgment of LA. Donoso &
           Associates. LLC ("U.S. Immigration Counsel") or to any other qualified immigration attorney
           the Foreign Investor so chooses. Jbe par1ies ackmw)edpc the mutual benefits of their
           relationshi and -the success of the relationshi is based on numerous factors, includin the
                                                                                                                                                                             ears.        :;; parties
          l!ll!m"""'en!l!'!!',.o"'""co!'l"!!o'!!p~er!!'!a!'Pe!!",•1'!!n•g!!!o!!"o~•,~11"'t!",~t~o•1~m~p~em~e'•-'n'!"'t.,a•r~n~a""rx.~e~ti""n-.g•s~t~ra~t•-'eg~y~t!~1a'.':t~r~e~su~ts~in the timely
           funding of Projects in accordance with the funding fichedules to the Developers. Finder
           acknowledges that timely funding to the Developers is a material condition to this Agreement
           and as such, shall endeavor to not divert Foreign Investors to U.S. projects which compete with
          hMn                                                                                                                                  -

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       STRICTLY CONFIDENTIAL PURSUANT
       TO ORDER DATED OCTOBER 15, 2019
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               7.      Acceptance of Foreign hlvestors: The decision to accept a foreign Investor in the
               Company is in the absolute and sole discretion of the Company. lt is acknowledged and agreed.
               by Finder that no Finder's Fee or Annual Fee will be due and payable to Finder unless the
               Foreign lnvcstor is accepted as an investor into the Company, which dctennination shall be made
               prior to the Foreign Investor's initial deposit into Escrow.

               _8.      Lega1 Representation: Finder acknowledges and agrees that Immigration Counsel will
                represent the Foreign Investor in reviewing Foreign Investor's background, in";detennining
               ·whether Foreign Investor meets the qualifications to apply for EB-5 Vis11 unde{the ~B-5
 l
                Program and in preparing and filing the Investor's I-S26 Petition. Finder als6)grees thafsubject
 I
1/              to the Foreign Investor's choice, the U.S. Immigration Counsel will file all of the, 1~526 Petitions
 I
 '
                on the Project. It is the Finder's responsibility to ensure that all 1-526 Petition cases are refene<l
                to U.S. Jmmigration Counsel.                                             ·

                9.      Limitation of Services: This Agreement relates solel)',Jo Fi~det'..s services tendered in
                providing the Company with the name of the Foreign Investor.<\here are no additional services
                that Finder is required to perform to be entitled to thefiriij£r''siFe¢}~the event the Investment in
                the Company is made and USCIS approves the Foreign ln~estor's 1-526 Petition, subject to the
                                                                                 0


                refund policy in Section 5 ..                               :. '     '




                JO.      Represe,]!ations and Acknowledgemerit:;;.finder,,oii the one hand, and the Company, on
                the other hand, hereby represent and warrant to eachother and acknowledge and agree that (i)
                the Offering shall be conducted pursuant to Regulation S, only non U.S. persons (as defined in
                Regulation S) will participate, an<!,the ()tfer and sale of Units shall only be conducted in offshore
                transactions (as defined in Regulation Sf (ii) Pinder shall contact all potential Foreign Investors
                outside the United States, and.,itl! othh relevant communications shall be made outside the U.S.
                (iii) Finder is not a licensecfor ·~t~(stcrcd securities broker or dealer, or investment ~dvisor in the
                U.S. and as such wiH. not c611duci·•~ctivities in the U.S. for which registration as a securities
                broker, dealer or investµjent.a~yj~or is required, (iv) Finder shall not be liable to the Company
                for any liability arising out of the Company's failure to conduct the Offering pursuant to or in
                according with Regulatio.n S'{including Rule 902(b)(3) thereof), (v) Finder and the Company are
                each in compliance applicable laws and regulations relating to the perfrmnance of this
                Agreen,~.eiltl!nd tltt:: ()f[ering, (vi) Finder is duly organized, validly existing and in good standing
                under~'the laws of P:1{. China and has obtained the necessary license from reievant. public
                authorjties in f):~. China 10 act as an immigration agency in the U.S. EB-5 Program. Except as
                 expressly set forth in this Agreement, Finder and the Company make no representations or
                warranties whatsoever, either express or implied, (vii) Finder shall furnish to the Company such
                 information in writing as shall be requeste<l by the Company with respect to any disclosures or
                 certifications required by the USCIS, the SEC or any applicable regulatory agency having
                jurisdiction, including but not limited to annual certifications that Finder is in compliance with
                 the tenns of this Agreement, and (viii) ll'Othing in this Agreement shall cause Finder to be the
                 Company's partner, employee, or agent, or give Finder any authority to act for the Company.
                The Company shall not be liable for any of Finder's acts'or obligations under this Agreement.



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             STHJCTL Y CONFIDENTIAL PURSUANT
             TO ORDER DATED OCTOBER 15, 2019
                                                                                                                           YAN1568_496
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         11.     Miscellaneous: This Agreement shall be binding upon the Parties and their respective
         estates, heirs, successors, and permitted assigns. This Agreement may be changed only by the
         written consent of both Parties. This Agreement is not assignable. This Agreement is the entire
         agreement between the Parties, and supersedes all prior agreements, oral or written, if any
         between the Parties, and there are no other understandings, representations or warranties between
         the Parties except as set forth in this Agreement. This Agreement may be signed in any number
         of counterpar1s, each of which shall be deemed an original. Delivery of executed pages by
         facsimile or electronically will constitute effective delivery of this Agreement and have the same
         effect as the delive_ry of an originul executed counterpart.

          12.     Tem1ination for Cause: The Company has the right to terminate this Agreem~nt,ifin:its
          sole discretion the Finder is in breach of any of the material tenns of this 1\greeipi,!!Jl, For the
          avoidance of doubt, if the representations contained in Section IO are found at any poinfto not be
          true, this shall be considered a material breach of the temts of this AgreM1ent. The Finder also
          has the right to tenninate this Agreement if in its opinion the Co;tipany bfeach'ed any material
          representations in this Agreement. If this Agreement is terminated/the tem1inating party shall
          deliver thirty (30) days prior written notice to the other Party. T)1e Comp~ny and the Finder also
          agree that either Party, in its sole discretion may waive- any bretlqh of this Agreement. Either·
          Party shall also have thirty (30) days to cure a material bi-each <5f'th:is'Agrcement from the date of
          notification by the tcm1inating party. Notwithstanding the fotcgoing, the provisions of Sections
          2, 3, 4, 5, 10, 13,14 and 15 hereof, shall surviv~'~ny,stlch termination or the expiration of this
          Agreement.                                            · ·
                                                       !-;<<;,:·, ·.   : ,;,., .   • ;~'.;e.,


          13.     Fees and Expen&-es. Should any l~gal proc~~i~~ be necessary to constrne or enforce the
          provisions of this Agreement, then th~ prevailing/party in such legal action shall be entitled to
          recover all court costs, reason_able iitfomey foes, and costs of enforcing or collecting any
          judgment awarded. Except as:'a result ofagreach of their representations and agreements in
          Section l O(i) hereof, for w}:iidfthe:C:ompany shall indemnify the Finder, under no circumstances
          sha11 the Company be liablito,Fiiii:ier with respect to any matter contemplated by this Agreement
          for any costs (other. than thtEind~i's Fee and Annual Fee), or for any indirect, incidental
          consequential, special ic>r p'Llnltive damages, and, except as a result of breach of their
           representations,and ~gr:!!ements in Section IO(i) henx>f, in no event shall the Company's liability
          arising out ofcor relatihg to this Agree~ent exceed the aggregate amount of the Finder's Fee,
           Marketing Fee and Annual Fee paid and payable to Pinder pursuant to Sections 2, 3 and 4 of this
           Agreement/ .... •·· ...i',

               -i J3. l Q.garantv. As an inducement for Finder to enter into this Agreement, USIF
          hereby guareritees the full payment of the Finder's Fee and Annual Fee for each Project
          Notwithstanding the foregoing, Finder acknowledges and agrees that each Project is unique and
          unrelated to any other Project. As such, the obligations of any Company shall not be the
          obligation of any other Company listed in the Project Schedult..-s.

          14.     Gov~ing Law. The judgment by any court of law that a particular section of this
          Agreement is illegal or unenforceable shall not affect the validity of the remaining provisions. 1t
          is the Parties' intention that the laws of the State of ~ew York shall govern the validity of this
          Agreement.


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       STRICTLY CONFIDENTIAL PURSUANT
       TO ORDER DATED OCTOBER "\5, 2019
                                                                                                                   YAN1568_497
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            Case: 1:19-cv-01230 Document#: 88-2 Filed: 05/05/20 Page 7 of 10 PagelD #:4217
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                15.    Schedules. Company and Finder will execute Schedules (governed by this Agre.ement) to
                evidence their agreement on specific Projects. Such Schedules will appear substantially similar
                to Schedule A attached hereto. Such Schedules will memorialize the tem1s of the amount of the
                tees payable to Finder under this Agreement. Finder agrees that to perfect its interest in
                payments owed for any introduced Foreign Investor, it must possess a validly executed Schedule
                from the Company.




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  '           STRICTLY CONFIDENTIAL PURSUANT
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              TO ORDER DATED OCTOBER 15, 2019
                                                                                                                  YAN1568_498
Case 9:20-cv-81141-DMM Document 1 Entered on FLSD Docket 07/15/2020 Page 30 of 35
     Case: 1:19-cv-01230 Document#: 88-2 Filed: 05/05/20 Page 8 of 10 PagelD #:4218
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         Our signatures below shall legally bind us to the tenns and conditions of this Agreement in its
         entirety. We understand, agre.e, and accept the above terms and conditions of this Agreement as
         of the date first set forth above.


         FINDER
         BEIJL~G OVERSEAS EDUCATION & JMMJGRATION CONSULT SERVICE CO.,
         LTD

         By,@
         Name:     -                          ..->   f1NG, .DIN~
         Date:            If
                                    I
                                       I t;; V: 7/ ),o / r

         GUARANTOR

         U.S. IMMIGRATION FUND, LLC
                    ..,..........~ ........
         By: Capital 600~ LLC (Its Managing Member)
                                               \                       -~ ~
                                                                   •••'•••~"~v • ••




          [ts:   Manager




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       STRICTLY CONFIDENTIAL PURSUANT
       TO ORDER DATED OCTOBER 15, 2019                                                                     YAN1588_499
              Case 9:20-cv-81141-DMM Document 1 Entered on FLSD Docket 07/15/2020 Page 31 of 35
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                                                                                 .,
                                                                            Schedule A

                         Company:


          I              Project Desc1iption:
     :I·,
     I,

          I              Annual Fee/Administrative Fee::
     ii
     'I
                         Atmual Fee Payment Schedule:


                         Finder will be entitled to receive the Annual Fee for a perj,q~_ c6mmencing from the closing and
                         funding of at least ninety-five percent (95%) of the prdce~ds· ofthd..-0an to the Developer and
                         expiring on the maturity date of the Loan. The Annual. Fee,shall be funded out of the interest
                         payments to be made by the Developer to the Gornpany' pursuant to the terms of the Loan to be
                         entered into between the Company and the D~vcl~per. PrC>v1ded that at least ninety-five percent
      I
     .j                  (95%) of the proceeds of the Loan are funded and 'iri.t~r,est payments are paid, the Annual Fee
     'I
      !
                         shall be paid lo finder on a quarterly biiits, in       arrears
                                                                                \vi thin fifteen ( 15) business days after the
                         Company receives payments of interest purs,u.ant tdfoe Loan.

                         The illustration below shows the Galc,u,latioh of payments to b~ made to the Finder.
                                                         .. '··,   ..
                                                                   ,    ~    .


                         For Illustration .Purpose.~,,.,,,
                                                       ' ..


                         (Loan Amount $[A1iii>,~nt) and'.~ss~nting ?5% of Lonn Funded)

                         I. Annual Fe~;P~yiri~~~ ~oqimencement (95% of the Loan)
                         Loan Amounf~t Which;Payment Commences: $[A] (95% ofS[Loan Amount])
                         AnnualJ~e: $[BJ([A.n.Hual Fee Percentage]% of$[A])
                         Annuaf'Fec DisblirsecrQuarterly in Arrears Years 1-5: $[C] ($[B] divided by 4)

                         11. Subsequent. Loan Amount (the remaining 5% of the Loan)
                         Subsequent'Loan Amount: $[Remaining Amount]
                         Amrnal Fee: $[DJ ([Annual Fee Percentage]% of $[Remaining Amount])
                         Annual fee Oisbursed Quarterly in Arrears Years l-5": $[E] ($[DJ divided by 4)

                         *Commencing and adjusted pro rata according to when subsequent loan proceeds are funded to
                         the Developer.




 I                    STRICTLY CONFIDENTIAL PURSUANT
                      TO ORDER DATED OCTOBER 15. 2019
                                                                                                                                 YAN1568_500
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Case 9:20-cv-81141-DMM Document 1 Entered on FLSD Docket 07/15/2020 Page 32 of 35
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            CONFIOENTl,\L - M.,W NOT BE DISSEMINATED, DISTRIBUTED OR POSTED ON INTERNET PURSUANT TO ORDER




           1568 Broadway                                   f'rom                                                      To
   Date    Payee                             Amount        8J;.£!Ji                                                 !if..f.!J!
                                                                                        YAN LIXING FUNDS FLOW
                                                                          PAYMENTS TOGDOS relative to YAN LIXiNG
 2017.01.11. GOOS                      .$      10,000.00   .5751          1\gent fee from Admi" Fees                GOOS
 2018.02.02 GOOS                       s       20,000.00    5751          Agent tee                                 GOOS




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           STRICTLY CONFIDENTIAL PURSUANT
           TO ORDER DATED OCTOBER 15. 2019                                                                         YAN1568_002
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                                                                                                                     To
                1568 Broadway                                   From
                                                                                                                    Acct tt
                                                  Amount        Acct 11
        Da~     ~~
                                                                                          YAN LIXING FUNDS FLOW
                                                                          PAYMENTS TOGDOS relative to YAN LIXJNG
                                                                          Agent foe trorn Adrnin fee'.,             GDOS
      2017.01.12 GDOS                        $      10,000.00   5751
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                STRICTLY CONFIDENTIAL PURSUANT
                TO ORDER DATED OCTOBER 15, 2019                                                                    YAN1568_002
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/[FILED: NEW YORK COUNTY CLERK 07/20/2018 07: 25 PM)                   INDEX NO. 156339/2018
I
iNYSCEF DOC. NO. 37                                                                                           RECEIVED NYSCEF: 07/20/2018


;, 6-fl\--SAUL EWING
1\
!;             ARNSTEIN
               & LEHRLLP
                                                                 July 20, 2018


               To: Supreme Court of The State of New York, County of New York

                      Re:    Verified Petition for Injunction (the "Injunction Petition")
                             Index No.: 156339/2018
     II        Dear Sir or Madam:

                       The purpose of this letter is to state our position that if the Court rules in favor of the
               Injunction Petition, we strongly believe all those members of 701 TSQ 1000 Funding, LLC (the
               "Company") who elected to have the Company redeploy their money would be highly
               prejudiced for the reasons set forth in that certain "USCJS Rules on Sustainment of Investors
               Funds and Redeployment" recently issued by the EB-5 Investment Coalition.

                      In considering the foregoing, please be advised that our Firm has assisted in multiple
               redeployment transactions under the EB-5 program involving over $500 million. Additionally,
               we represent a group of members of the Company who have elected to have the Company
               redeploy their money in order to maintain their immigration status under the EB-5 program.

                      Please feel free to contact me with questions or concerns regarding the foregoing matter.

                                                                       Very truly yours,




                                Southeast Financial Center • 200 S. Biscayne Blvd., Suite 3600 • Miami, FL 33 J 3 I
                                                   Phone; (305) 428-4S00 • Fax; (305) 374-4744
          ',
                 DELAWARE FLORIDA ILLINOIS MARYLAND MASSACHUSETTS NEW JE,RSEV NEW YORK PENNSYLVANIA WASHINGTON, DC

          r                                               A DELAWARE LIMITED U>JIIIJlY PARlNl!R.SIIIP




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